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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

BRABUS GmbH,                                             )
                                                         )    Case No. 20-cv-3789
                Plaintiff,                               )
                                                         )
                                                         )    Judge Robert W. Gettleman
v.                                                       )
                                                         )
HFUFUCU, et al.,                                         )
                                                         )
                Defendants.                              )

                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff BRABUS GmbH
hereby dismisses with prejudice all causes of action in the complaint against the following Defendants
identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

        No.     Defendant
        48      LIANG HOUHAI 364578
        68      YiJiaRen
        69      zhoucui13874_uesdfer
        105     City-Beauty Life
        107     JSX Auto Part
        108     Kidney Young


        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.

                                         Respectfully submitted,
Dated: August 3, 2020                    By:     s/Michael A. Hierl             _
                                                 Michael A. Hierl (Bar No. 3128021)
                                                 William B. Kalbac (Bar No. 6301771)
                                                 Hughes Socol Piers Resnick & Dym, Ltd.
                                                 Three First National Plaza
                                                 70 W. Madison Street, Suite 4000
                                                 Chicago, Illinois 60602
                                                 (312) 580-0100 Telephone
                                                 mhierl@hsplegal.com

                                                 Attorneys for Plaintiffs
                                                 BRABUS GmbH
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 3, 2020.


                                                          s/Michael A. Hierl
